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                        Exhibit 1
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                                                                                            US007 1877O6B2


(12)   United States Patent                                               (10) Patent No.:               US 7,187,706 B2
       Schilling et al.                                                   (45) Date of Patent:                      Mar. 6, 2007
(54)    HANDOFF AND SOURCE CONGESTION                                        5.305.308 A * 4/1994 English et al. .............. 370,335
        AVOIDANCE SPREAD-SPECTRUMSYSTEM                                      5,818,820 A * 10/1998 Anderson et al. ........... 370,280
        AND METHOD
                                                                                                (Continued)
(75) Inventors: Donald L. Schilling, Palm Beach                                         OTHER PUBLICATIONS
                Gardens, FL (US); Joseph Garodnick,
                Centerville, MA (US)                                  3G TS 25.3331 (Oct. 1999) 3" Generation Partnership Project
                                                                      (3GPP); Technical Specification Group (TSG) RAN: RRC Protocol
(73) Assignee: Linex Technologies, Inc., West Long                    Specification.
                Branch, NJ (US)                                                               (Continued)
(*) Notice: Subject to any disclaimer, the term of this               Primary Examiner Don N. Vo
                patent is extended or adjusted under 35               (74) Attorney, Agent, or Firm—David Newman
                U.S.C. 154(b) by 721 days.
                                                                      (57)                     ABSTRACT
(21) Appl. No.: 09/968,832
                                                                      A        spread-spectrum,        code-division-multiple-access
(22) Filed:            Oct. 2, 2001                                   (CDMA), system with a remote station (RS) communicating
(65)                       Prior Publication Data                     with a first base station (BS). The remote station receives the
                                                                      first BS-packet signal, and transmits a first RS-packet signal
        US 2002fOO94O13 A1                 Jul. 18, 2002              to the first base station. The first RS-packet signal is spread
                                                                      by a first RS-chip-sequence signal at a second frequency.
            Related U.S. Application Data                             The first base station receives the first RS-packet signal. The
(63) Continuation of application No. 09/758,981, filed on             first base station stores and forwards the despread first
        Jan. 12, 2001.                                                RS-packet signal to a central office (CO). The remote station
                                                                      monitors control and packet transmission channels of other
(51)    Int. C.                                                       base stations in geographic proximity to the remote station.
        H4B I/69                    (2006.01)                         Each of the base stations transmit BS-packet signals. The
        H04O 700                    (2006.01)                         remote station determines, based on signal metrics and
        H04O 7/20                   (2006.01)                         available capacity, when to change from the first base station
                                                                      to the second base station. The second base station stores and
(52)    U.S. Cl. ......................   375/141; 370/332:455/437;   then forwards the despread second RS-packet signal to the
                                                         455/439
                                                                      central office. The despread second RS-packet signal
(58)    Field of Classification Search ................ 375/130,      includes a source address from the second base station and
                    375/140,141, 143: 370/331, 332, 335, 280,         the source address from the remote station. For return
                       370/310.2: 455/436, 437, 438, 439, 442         communications from the central office, the central office
        See application file for complete search history.             reads the source address from the second base station, and
(56)                       References Cited                           routes return packet signals, denoted herein as CO-packet
                  U.S. PATENT DOCUMENTS
                                                                      through the second base station to the remote station.
       5, 195,091 A * 3/1993 Farwell et al. .............. 370,336                    25 Claims, 3 Drawing Sheets
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                                                                         Connected Mode (3G TS 25.304 version 3.0.0).
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     5,898,682   A   * 4, 1999   Kanai .........              370,331    Project; Technical Specification Group Radio Access Network, UE
     5,917,811   A   * 6/1999    Weaver et al. .       ...    370,332    Procedures in idle Mode and Procedures for Cell Reselection in
     5,940,430   A   * 8/1999    Love et al. ....      ...    375,130    Connected Mode (3G TS 25.304 version 5.0.0).
     5,940,761   A   * 8/1999    Tiedemann et al. .........   455/437    A Reliable, Efficient Topology Broadcast Protocol for Dynamic
     6,314,126 B1 * 1 1/2001 Schilling et al. ..        ... 375,130      Networks, Bhargay Bellur and Richard G. Ogier, IEEE Infocom,
     6,608,823 B1*      8/2003 Kito ..............            370,331    Mar. 21-25, 1999.
 2002fOO77104 A1* 6, 2002 Chen et al. ...               ... 455,436      Leonard Kleinrock, Static Flow Control in Store-and-Forward
 2002/0196840 A1* 12/2002 Anderson et al. .               ... 375/130    Computer Networks, IEEE Trans. On Computers, vol. COM-28,
 2003/0206530 A1* 11/2003 Lindsey et al. ...            ... 37O/277      No. 2, Feb. 1980. \.
 2005/00594.01 A1*      3, 2005 Chen et al. ...       ... 455,437
 2005, 0122917 A1*      6/2005 Tiedemann ................. 370,300       Robust Adaptive Network Protocols for Restrictive Environments,
                                                                         SRI International, ITAD-1648-FR-99-054, SRI Project Number
                  OTHER PUBLICATIONS                                     1648, for U.S. Arym Communications-Electronics Command, Fort
                                                                         Monmouth, NJ.
3G TS 25.304 V.3.0.0 (Oct. 1999) 3" Generation Partnership
Project; Technical Specification Group Radio Access Network, UE          * cited by examiner
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                                                             50

                                                   CENTRAL
                                                    OFFICE

        BASE
       STATION

  30




                      FIG.1
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                                                             f1


                                                                         20



                    11             f1
                                                       134




                                                   f 1 AND f2
                          f1+f D
                          f2+f D                         f2
                                                                          20




                                        FIG.4
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                                                      US 7,187,706 B2
                               1.                                                                      2
      HANDOFF AND SOURCE CONGESTION                                                  SUMMARY OF THE INVENTION
    AVOIDANCE SPREAD-SPECTRUMSYSTEM
               AND METHOD                                                  A general object of the invention is a handoff, for a
                                                                         direct-sequence, spread-spectrum, CDMA packet-switched
                    RELATED PATENTS                                      system, between base stations, without loss of capacity or
                                                                         loss of data.
  This patent stems from a continuation application of U.S.                 Another object of the invention is to provide continuous
patent application Ser. No. 09/758,981, and filing date of               operation of a remote station between base stations, without
Jan. 12, 2001, entitled SPREAD-SPECTRUM HANDOFF                          the large overhead operation currently required of a handoff.
AND SOURCE CONGESTION AVOIDANCE SYSTEM                              10      According to the present invention, as embodied and
AND METHOD by inventors, DONALD L. SCHILLING                             broadly described herein, an improvement for a method and
and JOSEPH GARODNICK. The benefit of the earlier filing                  system is provided to a spread-spectrum, code-division
date of the parent patent application is claimed for common              multiple-access (CDMA), system. Assume that a remote
subject matter pursuant to 35 U.S.C. S 120.                              station (RS) is communicating with a first base station (BS)
                                                                    15   within a spread-spectrum, CDMA network. The spread
           BACKGROUND OF THE INVENTION                                   spectrum, CDMA network may be a star network with the
                                                                         same overhead information which is typically used in cur
   This invention relates to packetized, code-division-mul               rent cellular systems, or a distributed network. The first base
tiple-access communications, and more particularly to hand               station transmits, using radio waves, a first BS-packet signal
off of a remote station, between base stations.                          to the remote station. The first BS-packet signal is spread by
                                                                         a first BS-chip-sequence signal at a first frequency f.
        DESCRIPTION OF THE RELEVANT ART                                     The remote station receives the first BS-packet signal. A
                                                                         replica of the first BS-chip-sequence signal, or equivalently
   In a wireless, direct-sequence, spread-spectrum, pack                 a matched filter matched to the first BS-chip-sequence
etized, code-division-multiple-access (CDMA) communica              25   signal, is used by the remote station for despreading first
tions system, a remote station (RS) transmits to a base                  BS-packet signals arriving from the first base station. Each
station (BS), and a base station transmits to a remote station.          BS-packet signal, or certain BS-packet signals, contain
The selection of base station may he determined from the                 capacity availability data, and which BS-chip-sequence sig
power level received at the base station from the remote                 nals are available, for the respective base station.
station, and/or from the power level received at the remote         30      The remote station transmits, using radio waves, a first
station from the base station. During communications                     RS-packet signal to the first base station. The first RS-packet
between the remote station and the base station, if either the           signal is spread by a first RS-chip-sequence signal at a
power level received at the remote station, or the power level           second frequency f. A replica of the first RS-chip-sequence
received at the base station, is too small, then unacceptable            signal, or equivalently a chip-sequence generator matched to
communications results, and a change of base station is             35   the first RS-chip-sequence signal, is used by the remote
required or the communications channel is “dropped'. The                 station for spreading the first RS-packet signal. The first
change of base station is referred in the art as a handover or           RS-packet signal includes a source address from the remote
handoff.                                                                 station.
  In the prior art, a base station may initiate a handoff, or the          The first base station receives the first RS-packet signal at
remote station may initiate a handoff. The handoff may be a         40   the second frequency f. The first base station normally
hard handoff, when communications with the remote station                would despread the first RS-packet signal, and then send the
is stopped for a short period of time, until handoff to a new            despread first RS-packet signal to a central office. The
base station is complete. The hard handoff may result in loss            despread first RS-packet signal includes a source address
of data. To avoid the loss of data, the data that might be lost          from the remote station, and the source address from the first
can be stored, and when the handoff is complete, the stored         45   base station.
data can be transmitted at an increased data rate and an                   While the remote station communicates with the first base
increased power level. This sometimes is referred to as store            station, the remote station also monitors spread-spectrum
and forward. Ths store and forward of data during the hard               signals from other base stations, which are in geographic
handoff can prevent the loss of data.                                    proximity to the remote station. The remote station may
   For a soft handoff, the remote station, at the same time,        50   continuously monitor, periodically monitor, or monitor
receives data from, and transmits data to, the old base station          when the received power level at the remote station falls
and the new base station. The simultaneous transmission                  below a threshold or when the capacity availability in the
results in an increase in received signal power, by as much              first base station falls below a given threshold. The remote
as 3 dB, since two base stations are transmitting to the                 station may monitor the control and packet transmission
remote station.                                                     55   channels, or other channels, of the other base stations. The
  For the hard handoff and the soft handoff, initially the               control and packet transmission channels refer to channels
remote station and/or base station determine that a handoff              that are continuously operating, or nearly continuously
is required, and then as to which of several base stations the           operating, from the other base stations.
remote station finally will communicate. For the handoff, an                Each of the base stations transmits, using radio waves, a
initial remote station transmitter power is determined, then        60   BS-packet signal spread by a second BS-chip-sequence
the necessary overhead operations take place to effect the               signal at the first frequency f. The remote station monitors
handoff. During this process, the hard handoff results in data           a signal metric of the control and packet transmission
loss, which is unacceptable for data communications, and                 channels from the first base station, and monitors the same
the soft handoff results in a decrease in capacity, since two            signal metric of the control and packet transmission chan
base stations are simultaneously transmitting and/or receiv         65   nels from the other base stations. The remote station deter
ing the same data. In addition, the handoff procedures                   mines when the signal metric of the first BS-packet signal
currently in use were for circuit-switched systems.                      falls below a threshold, and that the signal metric of a
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                           3                                                                          4
BS-packet signal from one base station, or several BS                   packet signal, at the first frequency, as a third BS-packet
packet signals from several base stations, is above the                 signal spread by the second BS-chip-sequence signal. The
threshold. The remote station also determines available                 term third BS-packet signal, as used herein, refers to the
capacity of the one or more base stations. Upon determining             BS-packet signal transmitted from the second base station,
the foregoing threshold crossings, and capacity levels, the             containing the information from the CO-packet signal. The
remote station determines to handoff to a second base                   remote station receives and despread the third BS-packet
station. The second base station is defined herein to be the            signal, i.e., the CO-packet signal.
particular base station, out of the one or more base stations              This invention has the central office route the CO-packet
monitored by the remote station, to which the remote station            signal to the second base station, since the second base
decides to handoff. The second base station, as set by             10   station is the base station to which the remote station last
engineering design criteria, has sufficiently high signal level         transmitted, as determined from the second base station
and Sufficient capacity, for communicating with the remote              Source address and the remote station source address in the
station. Upon meeting these criteria, the remote station                second packet signal previously received at the central
changes communications from the first base station to the               office.
second base station.                                               15      The present invention refers to a first frequency f. and a
   A packet Switched system makes use of the fact that a                second frequency f, which, for frequency division duplex
packet contains a finite number of bits and that the remote             (FDD), would be different frequencies, preferably outside
station transmits nothing between packets. Even in Voice                the correlation bandwidth of each other. The present inven
communications, the dead time, i.e., the time between Spo               tion also may be used with time division duplex (TDD), with
ken words, including pauses, is about sixty percent. When a             the first frequency f. the same as the second frequency f.
remote station transmits a packet there is a dead time, the             Both FDD technology and TDD technology are well know
time between the remote station transmission of the next                in the art.
packet. This dead time is unknown a priori at the base station             Additional objects and advantages of the invention are set
and often unknown by the remote station.                                forth in part in the description which follows, and in part are
   Thus, after transmission of a packet i, the base station will   25
                                                                        obvious from the description, or may be learned by practice
use the chip-sequence signal and the available capacity in              of the invention. The objects and advantages of the invention
the base station, given to a first remote station, for the next         also may be realized and attained by means of the instru
remote station requiring its use. Such operation is required            mentalities and combinations particularly pointed out in the
to ensure, maximum throughput through the system. Thus,                 appended claims.
the original remote station desiring to send packet i+1, may       30
find that the base station has no capacity available. This                    BRIEF DESCRIPTION OF THE DRAWINGS
metric, denoted herein a BS metric, is a second reason (the
first being low power) for the remote station to handover to              The accompanying drawings, which are incorporated in
a second base station.
   In response to determining to change communications             35
                                                                        and constitute a part of the specification, illustrate preferred
between base stations, the remote station transmits, using              embodiments of the invention, and together with the
                                                                        description serve to explain the principles of the invention.
radio waves, a second RS-packet signal, which is called the                FIG. 1 is a block diagram of a current cellular spread
second RS-packet signal, to the second base station, using a            spectrum system, showing all base stations communicating
newly selected spreading RS-chip-sequence signal. The                   with a central office;
newly selected spreading RS-chip-sequence signal, defined          40
herein as the second RS-chip-sequence signal, is provided                 FIG. 2 is a block diagram of a distributed network,
by the second base station. The term second RS-packet                   spread-spectrum system;
signal, as used herein, refers to the initial RS-packet signal            FIG. 3 illustrates a remote station communicating
transmitted from the remote station to the second base                  between two base stations; and
station, during handoff, using the second RS-chip-sequence         45     FIG. 4 illustrates a remote station communicating with a
signal. Accordingly, the second base station despreads the              base station, with channel sounding.
second RS-packet signal using the appropriate RS-chip
sequence signal or matched filter technology.                                         DETAILED DESCRIPTION OF THE
   After the second base station receives and despreads the                             PREFERRED EMBODIMENTS
second RS-packet signal at the second frequency, the second        50
base station sends the despread second RS-packet signal to                 Reference now is made in detail to the present preferred
the central office (CO). The despread second RS-packet                  embodiments of the invention, examples of which are illus
signal includes a source address from the second base station           trated in the accompanying drawings, wherein like reference
and the Source address from the remote station.                         numerals indicate like elements throughout the several
  For return communications from the central office to the         55 W1WS.
remote station, the central office reads the source addresses              The instant invention disclosed herein provides a novel
from the remote station and the forwarding base station. For            improvement and method to a direct-sequence, spread
this example, the central office reads the source address from          spectrum, packetized, code-division-multiple-access
the second base station. From the Source addresses, the                 (CDMA) system, and more particularly to a cellular struc
central office knows to route return packet signals, denoted       60   ture or environment with each cell containing a base station
herein as the CO-packet signal, through the second base                 communicating with a plurality of remote stations, using
station to the remote station.                                          spreadi spectrum modulation. The present invention is for
  The central office sends to the spread-spectrum, CDMA                 packet data, with data being sent between a remote station
network, a CO-packet signal, which includes destination                 and a base station as packet signals. A remote station might
addresses for the second base station and the remote station.      65   be a hand-held unit or telephone, a connection to a computer
The second base station receives the CO-packet signal. The              or other modem, or other device which may be stationery or
second base station transmits, using radio waves, the CO                in motion.
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  The base station is assumed to transmit to the plurality of            The plurality of nodes 110, 120, 130, 140, 150, 160, 170
remote stations at a first frequency f. also known as a carrier        180, 190 covers a geographic area. Each node in the plurality
frequency of the base station transmitter. The plurality of            of nodes 110, 120, 130, 140, 150, 160, 170 180, 190 forms
remote stations is assumed to transmit to the base station at          a micro-cell. A micro-cell typically has a radius much less
a second frequency f. also know as the carrier frequency of 5 than one mile.
the remote station transmitters. For frequency division             In the plurality of nodes 110, 120, 130, 140, 150, 160, 170
duplex operation, the second frequency f. is different the 180, 190, the first node 110 communicates with the second
first frequency f. and typically outside the correlation node 120, the fourth node 140 and the fifth node 150. The
bandwidth of the first frequency f. For time division duplex second node 120 communicates with the first node 110, the
(TDD) operation, the second frequency f. is the same as the 10 third node 130, the fourth node 140, the fifth node 150 and
first frequency f. The present invention works with either a the sixth node 160. The third node communicates with the
FDD CDMA system or a TDD CDMA system.                             second node 120, the fifth node 150 and the sixth node 160.
   A particular channel from the base station to a remote The fourth node communicates with the first node 110, the
station is defined or determined by a particular chip-se second node 120, the fifth node 150, the seventh node 170
quence signal, as is well known in the art for direct-sequence 15 and the eighth node 180. The fifth node communicates with
(DS) code-division-multiple access (CDMA) systems. A the first node 110, the second node 120, the third node 130,
particular channel from a particular remote station to the the fourth node 140, the sixth node 160, the seventh node
base station is defined or determined by a particular chip 170, the eighth node 180 and the ninth node 190. The sixth
sequence signal, as is well known in CDMA Systems.                node 160 communicates with the second node 120, the third
   CDMA Network Architecture                                      node 130, the fifth node 150, the eighth node 180 and the
   The improvement to a method and system of the instant ninth node 190. The seventh node 170 communicates with
invention provides handoff for a spread-spectrum CDMA the fourth node 140, the fifth node 150 and the eighth node
network. The spread-spectrum, CDMA network may be a 180. The eighth node 180 communicates with the fourth
star network or a distributed network.                                 node 140, the fifth node 150, the sixth node 160, the seventh
   As illustratively shown in FIG. 1, a star network, as          25   node 170 and the ninth node 190. The ninth node commu
presently is used for cellular networks, is used to commu              nicates with the fifth node 150, the sixth node 160 and the
nicate data between a central office 50 and a plurality of             eighth node 180.
remote stations (RS). A plurality of base stations 20, 30, 40.            FIG. 2 shows the first node 110 communicating with a
communicate directly with the central office 50. A first base          first plurality of remote stations 11, 112, 113, 114. The
station 20 communicates data between a first plurality of         30   second node 120 communicates with a second plurality of
remote stations 11, 22, 23, 24. A second base station 30               remote stations, with FIG. 2 showing a first remote station
communicates data between a second plurality of remote                 121 of the second plurality of remote stations. The third node
stations 31, 32, 33, 34, 35, 36. A third base station 40               130 communicates with a third plurality of remote stations
communicates data between a third plurality of remote                  131, 132 and the fourth node 140, the fifth node 150 and the
stations 41, 42, 43, 44, 45.                                      35   sixth node 160 communicate with a fourth plurality of
  The distributed network, as illustrated in FIG. 2, provides          remote stations, a fifth plurality of remote stations, and a
an alternative architecture, for routing packet signals                sixth plurality of remote stations, respectively. FIG. 2 shows
between a central office, through a plurality of nodes, to a           the fourth node 140 communicating with a first remote
remote station. Each of the nodes in a distributed system              station 141 of the fourth plurality of remote stations, the fifth
includes a base station, plus additional system components        40   node 150 communicating with a first remote station 151 of
for the distributed system. A representative distributive is           the fifth plurality of remote stations, and the sixth node 160
incorporated herein by reference, and is disclosed in U.S.             communicating with a first remote station 161 of the sixth
patent application Ser. No. 09/729,911, with filing date of            plurality of remote stations. The seventh node 170 and the
Dec. 6, 2000, entitled, DISTRIBUTED NETWORK,                           eighth node 180 are shown communicating with a seventh
SPREAD-SPECTRUM SYSTEM, by inventors Donald L.                    45   plurality of remote stations 171, and an eighth plurality of
Schilling and Joseph Gardnick, now U.S. Pat. No. 6,493,                remote stations 181, 182, respectively. The ninth node 190
377, with issue date Dec. 10, 2002.                                    communicates with a ninth plurality of remote stations, and
  As illustratively shown in FIG. 2, a distributed network,            FIG. 2 shows the ninth node 190 communicating with a first
direct-sequence, spread-spectrum, packetized, code-divi                remote station 191 of the ninth plurality of remote stations.
Sion-multiple-access (CDMA) system, by way of example,            50     Handoff Between Base Stations
comprises a plurality of remote stations and a plurality of               The improvement to the method and system of the instant
nodes 110, 120, 130, 140, 150, 160, 170 180, 190. The                  invention provides handoff for a packetized, direct-se
plurality of nodes 110, 120, 130, 140,150, 160, 170 180, 190           quence, spread-spectrum CDMA System, for the star net
forms the distributed network. The distributed network plus            work and distributed network, as represented in FIG. 1 or
the plurality of remote stations form the distributed system.     55   FIG. 2, respectively. Assume that a remote station (RS) 11,
The plurality of nodes 110, 120, 130, 140,150, 160, 170 180,           as shown, for example, in FIG. 3, is communicating with a
190 of FIG. 2, depicts, as an illustration, a first node 110, a        first base station (BS) 12 within a spread-spectrum, CDMA
second node, 120, a third node 130, a fourth node 140, a fifth         network.
node 150, a sixth node 160, a seventh node 170, an eighth         For the spread-spectrum, CDMA network, the first base
node 180 and a ninth node 190.                                 12 station transmits, using radio waves, a first BS-packet
                                                                  60
   In the plurality of nodes 110, 120, 130, 140, 150, 160, 170 signal to the remote station 11. The first BS-packet signal is
180, 190, one node, which happens to be labeled the second a spread-spectrum signal, since the first BS-packet signal is
node 120, is a hub node, which communicates to a central       spread by a first BS-chip-sequence signal at a first frequency
telephone office 50. In an alternative embodiment, a set of f. Spread-spectrum technology for spreading a packet sig
the plurality of nodes (hubs) communicates to the central 65 nal, in general, is well known in the art. Examples include
office 50. The set of the plurality of nodes (hubs), may a spread-spectrum transmitter using a chip-sequence gen
include the entire plurality of nodes.                         erator for generating a chip-sequence signal. The data in the
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packet signal is spread by a multiplying device or AND gate,            geographic proximity to the remote station 11. Assume, as
by the chip-sequence signal. Equivalently, a replica of the             an illustrative example, that the remote station 11 is required
chip-sequence signal can be stored in memory and outputted              to handoff to another base station because the power level is
in response a proper symbol input, Such as a bit.                       falling below a threshold or the capacity of the remote
   The remote station 11, using a spread-spectrum receiver,        5    station is falling below a threshold. The remote station 11
receives the first BS-packet signal. A replica of the first             may monitor the signal or power level and capacity avail
BS-chip-sequence signal, or equivalently a matched filter               ability of control and packet transmission channels, or other
matched to the first BS-chip-sequence signal, is used by the            channels, of the other base stations from nearby micro-cells.
spread-spectrum receiver of the remote station for despread             Assume that from a plurality of base stations monitored by
ing BS-packet signals arriving from the first base station 20.     10   the remote station, that the actual base station for handoff is
The replica of the first BS-chip-sequence signal also could             defined herein as the second base station 134.
be used with a product detector and output filter for                     Prior to handoff, the second base station 134 transmits,
despreading the packet signal. The product detector and                 using radio waves, a second BS-packet signal, spread by a
matched filter for despreading a spread-spectrum signal are             second BS-chip-sequence signal at the first frequency f.
well known in the art.                                             15   The remote station 11 monitors signal metrics of the first
   The remote station 11 transmits, using radio waves, a first          BS-packet signal from the first base station 20, and the same
RS-packet signal to the first base station 20. The first                signal metrics of the other BS-packet signals from the other
RS-packet signal is spread by a first RS-chip-sequence                  base stations in the plurality of base stations. A signal metric
signal at a second frequency f. Spread-spectrum transmit                typically would be received power or energy level, and
ters and spread-spectrum technology for spreading the                   capacity level.
packet signals are well known in the art, as previously                    The remote station 11 determines when the signal power
discussed for the first base station 20.                                metric of the first BS-packet signal falls below a threshold
   A replica of the first RS-chip-sequence signal, or equiva            and that the signal metrics of one or more BS-packet signals
lently a matched filter matched to the first RS-chip-sequence           are above the threshold. The remote station 11 also deter
signal, is used by the first base station 20 for despreading the   25   mines from the other base stations, which of the other base
first RS-packet signal. The first RS-packet signal includes a           stations has available capacity. Available capacity is ability
Source address from the remote station 11, and a destination            to store despread RS-packet signals and other packets sig
address for the central office 50. The destination address              nals passing through the other base stations. The remote
routes packet signals to the recipient of the packet signal.            station 11 then selects a base station, which is defined herein
The source address from the remote station 11 later is used        30   as second base station 134, which meets the requirements of
for routing packet signals to the remote station 11. Source             the signal metric and available capacity. The remote station
address and destination address are well known in the art.              11 also determines which BS-chip-sequence signals are
The destination address and the source address are put on the           available for use with the second base station 134. A set of
first RS-packet signal prior to spreading the first RS-packet           BS-chip-sequence signal and RS-chip-sequence signal are
signal.                                                            35   assigned and used by the remote station 11, when commu
   Referring to FIG. 1, by way of example, the first base               nicating with the second base station 134.
station 20 receives the first RS-packet signal at the second               Upon determining the foregoing threshold crossings, the
frequency f. The first base station 20 normally would                   remote station 11 changes communications from the first
despread the first RS-packet signal, add or append its                  base station 20 to the second base station 134, using a new
address to the packet signal, and then send the despread first     40   set of second RS-chip-sequence signal and second BS-chip
RS-packet signal, by way of example, to a central office 50             sequence signal. In response to determining to change
of FIG. 1. In FIG. 2, the eighth base station, located at node          communications between base stations, the remote station
180, forwards a packet signal to a fifth base station, located          11 transmits, using radio waves, a second RS-packet signal
at node 150, and a second base station, located at node 120,            to the second base station 134. The second RS-packet signal
en route to the central office 50. The RS-packet signals from      45   is defined herein to be an RS-packet signal sent from the
the remote station could be forwarded through base stations             remote station to the second base station 134.
to the central office by wired channel or wireless channel.               After the second base station 134 receives and despreads
Technology for despreading the RS-packet signal is well                 the second RS-packet signal at the second frequency f. the
known in the art, as discussed for the remote station 11.               second base station 134 sends the despread second RS
  In Summary. The first RS-packet signal includes a source         50   packet signal to the central office either as used in FIG. 1 or
address from the remote station, and the source address                 FIG. 2. The despread second RS-packet signal includes a
forwarded from the first base station. The despread first               source address from the second base station 134, which was
RS-packet signal includes the Source address from the                   added to the second RS-packet signal by the second base
remote station, and the source address from the first base              station 134.
station.                                                           55      For return communications from the central office to the
   In a preferred embodiment, a base station despreads a                remote station 11, the central office reads the source
packet signal, in general, and for this example, an RS-packet           addresses from the RS-packet signal, of the remote station
signal, and stores the RS-packet signal for transmission the            11 and the forwarding base station. For this example, the
central office. The flow control mechanism, used by the                 central office reads the source address for the second base
nodes in FIG. 2, permits packet signals to be forwarded in         60   station 134. From the source addresses, the central office
an efficient manner to one of several base stations en route            knows to route return packet signals, denoted herein as
to the central office 50. The use of flow control in a                  CO-packet signal to the remote station 11 through the
distributed network is well known to the ordinary skilled               second base station 134.
artisan in the art.                                                       The central office sends to the spread-spectrum, CDMA
  Referring to FIG. 3, while the remote station 11 commu           65   network, a CO-packet signal, including a destination address
nicates with the first base station 20, the remote station 11           for the second base station 134 and the remote station 11.
monitors, at the first frequency f, other base stations in              The second base station 134 receives the CO-packet signal
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of FIG. 1 or FIG. 2. The second base station 134 transmits,           frequency controlling circuit may be employed to control or
using radio waves, the CO-packet signal, at the first fre             compensate for frequency changes. Such devices or circuits
quency f. as a third BS-packet signal, respectively, each             are well-known in the art.
spread by the second BS-chip-sequence signal. The third                  As illustratively shown in FIG. 4, the sounding channel
BS-packet signal is defined herein to be the CO-packet                broadly provides an improvement to a spread-spectrum
signal when the CO-packet signal is sent from the second              system which has a base station and a plurality of remote
base station 134 to the remote station 11. The remote station         stations operating in FDD mode. The base station has a
11 receives the CO-packet signal. The invention has the               BS-spread-spectrum transmitter and a BS-spread-spectrum
central office route the CO-packet signal to the second base          receiver. The BS-spread-spectrum transmitter transmits,
station 134, since the second base station 134 is the location   10   using radio waves, a plurality of BS-spread-spectrum signals
from which the remote station 11 last transmitted, as deter           at a first frequency f. The BS-spread-spectrum receiver
mined from the second base station 134 source address and             receives, at a second frequency f., a plurality of RS-spread
the remote station 11 Source address in the second packet             spectrum signals from the plurality of remote stations. The
                                                                      plurality of BS-spread-spectrum signals at the first fre
signal previously received at the central office.                     quency f. are outside the correlation bandwidth of the
   Spread-Spectrum Channel Sounding                              15   plurality of RS-spread-spectrum signals at the second fre
   The present invention may be extended to include a                 quency f. Each of the plurality of remote stations has an
Sounding channel. The Sounding channel presents an addi               RS-spread-spectrum transmitter for transmitting an
tional signal metric from which to make a determination               RS-spread-spectrum signal at the second frequency f.
when to handoff. In addition, the sounding channel provides              The improvement includes a BS transmitter and an inter
an accurate measure of the appropriate signal level for the           ference-reduction Subsystem, located at the base station
remote station, when transmitting to the base station. The            receiver. The BS transmitter transmits, using radio waves, a
Sounding channel is incorporated herein by reference, and is          BS-channel-sounding signal at the second frequency. The
disclosed in U.S. patent application Ser. No. 09/231,015,             BS-channel-sounding signal has a bandwidth no more than
with filing date of Jan. 14, 1999, entitled, SPREAD-SPEC              twenty per cent of the spread-spectrum bandwidth of the
                                                                 25   plurality of RS-spread-spectrum signals, and in a preferred
TRUM CHANNEL SOUNDING, by inventor Donald L.                          embodiment, the BS-channel-sounding signal has a band
Schilling, now U.S. Pat. No. 6,269,092, with issue date Jul.          width no more than one percent of the spread-spectrum
31, 2001.                                                             bandwidth of the plurality of RS-spread-spectrum signals.
  The addition of a sounding channel overcomes a major                   At each remote station, the improvement includes an
problem with a plurality of remote stations transmitting to a    30   RS-power-level circuit and an RS receiver which has an RS
common base station. The plurality of remote stations may             demodulator. The improvement at the remote station also
be located at different distances, and each remote station            may include a frequency-adjust circuit. The RS receiver
may have a different propagation path, to the base station.           receives the BS-channel-sounding signal at the second fre
Thus, even if all the remote stations transmitted with the            quency. The RS demodulator tracks the BS-channel-sound
same power level, then the spread-spectrum signal from           35
                                                                      ing signal, and outputs an RS-receiver signal. Using the
each remote station may arrive at the base station with a             receiver power level of the RS-receiver signal, the RS
different power level. A strong power level from one remote           power-level circuit adjusts an RS-power level of the RS
station may cause sufficient interference to block or inhibit         spread-spectrum transmitter located at the remote station. If
reception of the spread-spectrum signal from a more distant           the frequency-adjust circuit were employed, then the fre
remote station. This power problem is commonly known as               quency-adjust circuit, using the received RS-receiver signal
the “near-far” problem, or power control problem: How does       40   as a reference, compensates to the first frequency the RS
the spread-spectrum system control the power transmitted              spread-spectrum signal of the RS-spread-spectrum transmit
from each remote station, so that the power received at the           ter located at the remote station.
base station from each remote station is approximately the               The interference-reduction subsystem is located at the
same? If the average power received at the base station were          base station and at a front end to the BS-spread-spectrum
the same for each remote station, then the capacity is limited   45   receiver. The interference-reduction subsystem reduces, at
by the number of remote stations transmitting to the base             the second frequency, the BS-channel-sounding signal from
station. If, however, a particular remote station were Sufi           the plurality of RS-spread-spectrum signals arriving at the
ciently close to the base station, and its transmitter power          base station.
could block reception of other remote stations, then capacity           In the exemplary arrangement shown in FIG. 4, the first
may be limited severely to only the remote station closest to    50   base station 20 is shown communicating, using radio waves,
the base station.
                                                                      with a remote station with frequency compensation. Since
   The sounding channel overcomes the power control prob              the BS-channel-sounding signal is transmitted, as a radio
lem by permitting a remote station to have knowledge, a               wave, from the base station 20 at the second frequency f. to
priori to transmitting, of a proper power level to initiate           the remote station 11, and the remote station 11 knows at
transmission. After the initial power level is used, closed      55   what frequency the BS-channel-sounding signal is Suppose
loop power control, which is well-known in the art, can be            to be received, then remote station 11 can determine the
employed.                                                             Doppler frequency shift f, and compensate its transmitter
   An additional or alternative benefit from the sounding is          frequency by a similar amount so that the RS-spread
more accurate frequency control at a remote station. The              spectrum signal arrives at the base station 20 with a carrier
carrier frequency transmitted from a remote station may be       60
                                                                      frequency at the correct second frequency f. Thus, the
shifted at the base station due to Doppler shift in carrier           RS-spread-spectrum signal is detected at the base station at
frequency caused by motion. The Sounding channel initially            the second frequency f, without a Doppler shift in carrier
corrects or compensates for Doppler shift in carrier fre              frequency f. If motion of the remote station caused a
quency caused by the effective motion of the remote station.          positive shift in the Doppler frequency f. then the correct
The remote station could be at a fixed location, and the              compensation would be to subtract the Doppler shift in
Doppler shift in carrier frequency could be caused by time       65   carrier frequency f. and transmit at frequency f-f. The
changes in the propagation path, such as trees blowing in the         remote station 11 also can measure the power level of the
wind. After initial communications, a Costas loop or other            BS-channel-sounding signal, and from this measurement,
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set its initial power level for transmitting the RS-spread                 frequency, with the fourth frequency different from the
spectrum signal at frequency f.                                            first frequency, the second frequency and the third
   For determining when to handoff to a second base station                frequency;
134 of FIG. 3, the remote station can monitor the signal                 receiving at the remote station the fourth BS-packet
metric of the Sounding channel. Handoff can be based on a                   signal, thereby obtaining a fourth RS-receiver signal;
signal metric of either the first BS-packet signal, or the               monitoring at said remote station a signal metric of the
Sounding channel, or a combination of the first BS-packet                  first RS-received signal, the second signal metric of the
signal and the sounding channel, as well as available capac                 second RS-received signal, the third signal metric of
ity.                                                                       the third RS-received signal and a fourth signal metric
   It will be apparent to those skilled in the art that various   10       of the fourth RS-received signal, and
modifications can be made to the spread-spectrum channel                 determining at said remote station that the first signal
Sounding improvement of the instant invention without                       metric falls below the threshold, and that the second
departing from the scope or spirit of the invention, and it is              signal metric or the third signal metric or the fourth
intended that the present invention cover modifications and                 signal metric, is above the threshold, and that any of the
variations of the spread-spectrum channel sounding
improvement provided they come within the scope of the            15        second base station, the third base station or the fourth
appended claims and their equivalents.                                      base station, has available capacity, thereby determin
                                                                            ing to change base stations.
  We claim:                                                              4. The improvement as set forth in claim 3, further
  1. An improvement method to a frequency division                     including the steps of:
duplex (FDD) distributed-network, spread-spectrum system                 transmitting, using radio waves, from a fifth base station,
comprising the steps of                                                     located in, and part of the FDD distributed network, a
  transmitting, using radio waves, from a first base station                fifth BS-packet signal spread at a fifth frequency, with
     (BS), located in, and part of the FDD distributed                      the fifth frequency different from the first frequency, the
     network, a first BS-packet signal at a first frequency;                second frequency, the third frequency and the fourth
  receiving at a remote station (RS) the first BS-packet          25        frequency;
     signal, thereby obtaining a first RS-received signal;               receiving at the remote station the fifth BS-packet signal,
  transmitting, using radio waves, from a second base                       thereby obtaining a fifth RS-receiver signal;
     station a second BS-packet signal at a second fre                   monitoring at said remote station the first signal metric of
     quency, with the second frequency different from the                   the first RS-received signal, the second signal metric of
     first frequency;                                             30        the second RS-received signal, the third signal metric
  receiving at said remote station the second BS-packet                     of the third RS-received signal, the fourth signal metric
     signal at the second frequency, thereby obtaining a                    of the fourth RS-received signal and a fifth signal
     second RS-received signal;                                             metric of the fifth RS-received signal, and
  monitoring at said remote station a first signal metric of             determining at said remote station that the first signal
     the first RS-received signal, and a second signal metric     35        metric falls below the threshold, and that the second
     of the second RS-received signal; and                                  signal metric or the third signal metric or the fourth
  determining at said remote station that the first signal                  signal metric or the fifth signal metric, is above the
     metric of the first RS-received signal falls below a                   threshold, and that any of the second base station, the
     threshold, and that the second signal metric of the                    third base station, the fourth base station, or the fifth
     second RS-received signal is above the threshold, and        40        base station, has available capacity, thereby determin
     that the second base station has available capacity,                   ing to change base stations.
     thereby determining to change base stations.                        5. The improvement as set forth in claim 4, further
  2. The improvement as set forth in claim 1, further                  including the steps of:
including the steps of                                                   transmitting, using radio waves, from a sixth base station,
  transmitting, using radio waves, from a third base station,
                                                                  45        located in, and part of the FDD distributed network, a
     located in, and part of the FDD distributed network, a                 sixth BS-packet signal spread at a sixth frequency, with
     third BS-packet signal spread at a third frequency, with               the sixth frequency different from the first frequency,
     the third frequency different from the second frequency                the second frequency, the third frequency, the fourth
     and the first frequency;                                               frequency and the fifth frequency;
  receiving at the remote station the third BS-packet signal,
                                                                  50     receiving at the remote station the sixth BS-packet signal,
     thereby obtaining a third RS-received signal;                          thereby obtaining a sixth RS-receiver signal;
                                                                         monitoring at said remote station the first signal metric of
  monitoring at said remote station the first signal metric of              the first BS-packet signal, second signal metric of the
     the first RS-received signal, the second signal metric of              second BS-packet signal, the third signal metric of the
     the second RS-received signal and a third signal metric      55        third BS-packet signal, the fourth signal metric of the
     of third RS-received signal, and                                       fourth BS-packet signal, the fifth signal metric of the
  determining at said remote station that the first signal                  fifth BS-packet signal and a sixth signal metric of the
     metric falls below the threshold, and that the second                  sixth BS-packet signal, and
     signal metric or the third signal metric, is above the              determining at said remote station that the first signal
     threshold, and that any of the second base station or the    60        metric falls below the threshold, and that the second
     third base station, has available capacity, thereby deter              signal metric or the third signal metric or the fourth
     mining to change base stations.                                        signal metric or the fifth signal metric or the sixth signal
  3. The improvement as set forth in claim 2, further                       metric, is above the threshold, and that any of the
including the steps of                                                      second base station, the third base station or the fourth
  transmitting, using radio waves, from a fourth base sta         65        base station or the fifth base station or the sixth base
     tion, located in, and part of the FDD distributed                      station, has available capacity, thereby determining to
     network, a fourth BS-packet signal spread at a fourth                  change base stations.
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   6. An improvement to a spread-spectrum system com                     said remote station for receiving the fifth BS-packet
prising:                                                                    signal, thereby obtaining a fifth RS-receiver signal, the
   a frequency division duplex (FDD), distributed network;                 remote station for monitoring the first signal metric of
   a first base station (BS), located in, and part of the FDD              the first RS-received signal, the second signal metric of
      distributed network, for transmitting, using radio 5                 the second RS-received signal, the third signal metric
      waves, a first BS-packet signal at a first frequency;                of the third RS-received signal, the fourth signal metric
   a second base station, located in, and part of the FDD                  of the fourth RS-received signal and a fifth signal
      distributed network, for transmitting, using radio                   metric of the fifth RS-received signal, and
      waves, a second BS-packet signal at a second fre                   said remote station for determining that the first signal
      quency, with the second frequency different from the 10               metric falls below the threshold, and that the second
      first frequency;                                                      signal metric or the third signal metric or the fourth
   a remote station (RS) for receiving the first BS-packet                  signal metric or the fifth signal metric, is above the
      signal and the second BS-packet signal, and thereby                   threshold, and that any of the second base station, the
      determining a first RS-received signal and a second                   third base station, the fourth base station, or the fifth
    RS-received signal, respectively; and                         15         base station, has available capacity, thereby determin
  said remote station for determining that a first signal falls              ing to change base stations.
    below a threshold and that a second signal metric of the              10. An improvement to a spread spectrum system com
     second RS-received signal is above the threshold, and             prising:
    that the second base station has available capacity,                  a frequency division duplex (FDD), distributed network;
    thereby deciding to change base stations.                     2O      first base station (BS) means, located in, and part of the
  7. The system as set forth in claim 6, further including:                  FDD distributed network, for transmitting, using radio
  a third base station, located in, and part of, the FDD                     waves, a first BS-packet signal spread at a first fre
     distributed network, for transmitting, using radio                      quency:
     waves, a third BS-packet signal spread at a third                    second base station means, located in, and part of the
            s
     frequency,   with the third frequency different from the 25             FDD distributed network, for transmitting, using radio
     second frequency and the first frequency;                               waves, a second BS-packet signal spread signal at a
  the remote station for receiving the third BS-packet                       second frequency, with the second frequency different
     signal, thereby obtaining a third RS-received signal, the               from the first frequency; and
     remote station for monitoring the first signal metric of 30          remote station (RS) means for receiving the first BS
     the first RS-received signal, the second signal metric of               packet signal and the second BS-packet signal, and
     the second RS-received signal and a third signal metric                 thereby determining a first RS-received signal and a
     of third RS-received signal, and                                        second RS-received signal, respectively; the RS means
  said remote station for determining that the first signal                  for monitoring a first signal metric of the first BS
     metric falls below the threshold, and that the second                   packet signal, RS means for determining that the first
     signal metric or the third signal metric, is above the 35               signal metric of falls below a threshold, and that the
                                                                             second signal metric is above the threshold, and that the
     threshold, and that any of the second base station or the               second base station has available capacity, thereby
     third base station, has available capacity, thereby deter               determining to change base stations.
     mining to change base stations.                                      11. The improvement as set forth in claim 10, further
  8. The system as set forth in claim 7, further including: 40         including:
  a fourth base station, located in, and part of the FDD                  third BS means, located in, and part of the FDD distrib
     distributed network, for transmitting, using radio                      uted network, for transmitting, using radio waves, a
     waves, a fourth BS-packet signal spread at a fourth                     third BS-packet signal spread at a third frequency, with
     frequency, with the fourth frequency different from the                 the third frequency different from the second frequency
     first frequency, the second frequency and the third 45                 and the first frequency;
     frequency;                                                    said RS means for receiving the third BS-packet signal,
  said remote station for receiving the fourth BS-packet             thereby obtaining a third RS-received signal, the RS
     signal, thereby obtaining a fourth RS-receiver signal,           means for monitoring the first signal metric of the first
     the remote station for monitoring a signal metric of the         RS-received signal, the second signal metric of the
     first RS-received signal, the second signal metric of the so     second RS-received signal and a third signal metric of
     second RS-received signal, the third signal metric of           third RS-received signal, and
     the third RS-received signal and a fourth signal metric       said RS means for determining that the first signal metric
     of the fourth RS-received signal, and                            falls below the threshold, and that the second signal
  said remote station for determining that the first signal           metric or the third signal metric, is above the threshold,
     metric falls below the threshold, and that the second ss         and that any of the second BS means or the third BS
     signal metric or the third signal metric or the fourth           means, has available capacity, thereby determining to
     signal metric, is above the threshold, and that any of the       change base station means.
     second base station, the third base station or the fourth     12. The improvement as set forth in claim 11, further
     base station, has available capacity, thereby determin including:
     ing to change base stations.                               60 fourth BS means, located in, and part of the FDD
  9. The system as set forth in claim 8, further including:           distributed network, for transmitting, using radio
  a fifth base station, located in, and part of the FDD              waves, a fourth BS-packet signal spread at a fourth
     distributed network, for transmitting, using radio               frequency, with the fourth frequency different from the
     waves, a fifth BS-packet signal spread at a fifth fre            first frequency, the second frequency and the third
     quency, with the fifth frequency different from the first 65     frequency;
     frequency, the second frequency, the third frequency          said RS means for receiving the fourth BS-packet signal,
     and the fourth frequency;                                       thereby obtaining a fourth RS-receiver signal, the RS
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      means for monitoring a signal metric of the first RS                 said second base station for receiving the CO-packet
      received signal, the second signal metric of the second                 signal, and for transmitting, using radio waves, the
      RS-received signal, the third signal metric of the third               CO-packet signal to said remote station.
      RS-received signal and a fourth signal metric of the                 15. The improvement as set forth in claim 14, with said
      fourth RS-received signal, and                                5    remote station including means for determining that the
   said RS means for determining that the first signal metric            second base station has available capacity, in order to hand
      falls below the threshold, and that the second signal              off communications to the second base station.
      metric or the third signal metric or the fourth signal               16. An improvement for a frequency division duplex
      metric, is above the threshold, and that any of the                (FDD) distributed network method comprising the steps of:
      second BS means, the third BS means or the fourth BS          10
                                                                           transmitting, using radio waves, from a first base station
      means, has available capacity, thereby determining to                   (BS) located in, and part of the FDD distributed
      change base station means.                                              network, a first BS-packet signal;
   13. The improvement as set forth in claim 12, further                   receiving at a remote station (RS), located in, and part of
including:                                                                    the FDD distributed network, the first BS-packet sig
                                                                    15
   fifth BS means, located in, and part of the FDD distrib                    nal;
      uted network, for transmitting, using radio waves, a                 transmitting, using radio waves, from a second base
      fifth BS-packet signal spread at a fifth frequency, with                station, located in, and part of the FDD distributed
      the fifth frequency different from the first frequency, the             network, a second BS-packet signal;
      second frequency, the third frequency and the fourth                 monitoring at said remote station a signal metric of the
      frequency;                                                              first BS-packet signal and a signal metric of the second
   said RS means for receiving the fifth BS-packet signal,                    BS-packet signal;
      thereby obtaining a fifth RS-receiver signal, the RS                 determining that the signal metric of the first BS-packet
      means for monitoring the first signal metric of the first               signal falls below a threshold and that the signal metric
      RS-received signal, the second signal metric of the           25        of the second BS-packet signal is above the threshold;
      second RS-received signal, the third signal metric of                handing off in response to determining that the signal
      the third RS-received signal, the fourth signal metric of               metric of the first BS-packet signal falls below the
      the fourth RS-received signal and a fifth signal metric                 threshold and that the signal metric of the second
      of the fifth RS-received signal, and                                    BS-packet signal is above the threshold, communica
   said RS means for determining that the first signal metric       30        tions to the second base station by transmitting, using
      falls below the threshold, and that the second signal                   radio waves, an RS-packet signal;
      metric or the third signal metric or the fourth signal               receiving at said second base station the RS-packet signal;
      metric or the fifth signal metric, is above the threshold,           sending the RS-packet signal to a central office (CO), with
      and that any of the second BS means, the third BS                       the RS-packet signal including a source address from
      means, the fourth BS means, or the fifth BS means, has        35       the second base station;
      available capacity, thereby determining to change base               sending from said central office a CO-packet signal
     station means.
                                                                             including a destination address for the second base
  14. An improvement to a distributed network comprising:                     station;
  a frequency division duplex (FDD), distributed network;                  receiving at said second base station the CO-packet
  a first base station (BS), located in, and part of the FDD        40        signal; and
     distributed network, for transmitting, using radio                    transmitting, using radio waves, the CO-packet signal to
     waves, a first BS-packet signal;                                         said remote station.
  a remote station (RS), located in, and part of the FDD                    17. The improvement as set forth in claim 16, with the
     distributed network, for receiving the first BS-packet         45
                                                                         step of determining including the step of determining that
     signal;                                                             the second base station has available capacity, in order to
  a second base station, located in, and part of the FDD                 hand off communications to the second base station.
     distributed network, for transmitting, using radio                    18. An improvement to a distributed network comprising:
     waves, a second BS-packet signal;                                     a frequency division duplex (FDD), distributed network;
  said remote station for monitoring a signal metric of the                first base-station (BS) means, located in, and part of the
     first BS-packet signal and a signal metric of the second                 FDD distributed network, for transmitting, using radio
     BS-packet signal, for determining that the signal metric                 waves, a first BS-packet signal;
     of the first BS-packet signal falls below a threshold and             remote-station (RS) means, located in, and part of the
     that the signal metric of the second BS-packet signal is                 FDD distributed network, for receiving the first BS
     above the threshold, and in response to determining                      packet signal;
     that the signal metric of the first BS-packet signal falls            second base-station means, located in, and part of the
     below the threshold and that the signal metric of the                    FDD distributed network, for transmitting, using radio
     second BS-packet signal is above the threshold, hand                     waves, a second BS-packet signal;
     ing off communications to the second base station, by                 said remote-station means for monitoring a signal metric
     transmitting, using radio waves, an RS-packet signal;          60        of the first BS-packet signal and a signal metric of the
  said second base station for receiving the RS-packet                        second BS-packet signal, for determining that the sig
     signal, and for sending the RS-packet signal to a central                nal metric of the first BS-packet signal falls below a
     office (CO), with the RS-packet signal including a                       threshold and that the signal metric of the second
     Source address from the second base station;                             BS-packet signal is above the threshold, and in
  said central office for sending a CO-packet signal includ         65        response to determining that the signal metric of the
    ing a destination address for the second base station;                    first BS-packet signal falls below the threshold and that
     and                                                                      the signal metric of the second BS-packet signal is
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                             17                                                                     18
    above the threshold, handing off communications to the               monitoring at said remote station a signal metric of the
     second base station, by transmitting, using radio waves,              first BS-packet signal and a signal metric of the second
    an RS-packet signal;                                                    BS-packet signal;
  said second base-station means for receiving the RS                    determining that the signal metric of the first BS-packet
    packet signal, and for sending the RS-packet signal to                  signal falls below a threshold and that the signal metric
    central office (CO) means, with the RS-packet signal                   of the second BS-packet signal is above the threshold;
    including a source address from the second base sta                  handing off in response to determining that the signal
    tion;                                                                  metric of the first BS-packet signal falls below the
  said central-office means for sending a CO-packet signal                 threshold and that the signal metric of the second
    including a destination address for the second base           10        BS-packet signal is above the threshold, communica
     station; and                                                          tions to the second base station by transmitting, using
   said second base-station means for receiving the CO                     radio waves, an RS-packet signal;
     packet signal, and for transmitting, using radio waves,             receiving at said second base station the RS-packet signal;
     the CO-packet signal to said remote station.                        sending the RS-packet signal to a destination node (DN),
   19. The improvement as set forth in claim 18, with said        15       with the RS-packet signal including a source address
remote-station means including means for determining that                   from the second base station;
the second base-station means has available capacity in                  sending from said destination node a DN-packet signal
order to hand off communications to the second base station.               including a destination address for the second base
  20. An improvement to a distributed network comprising:                   station;
  a frequency division duplex (FDD), distributed network;                receiving at said second base station the DN-packet
  a first base station (BS), located in, and part of the FDD                signal; and
     distributed network, for transmitting, using radio                  transmitting, using radio waves, the DN-packet signal to
     waves, a first BS-packet signal;                                       said remote station.
  a remote station (RS), located in, and part of the FDD                 23. The improvement as set forth in claim 22, with the
     distributed network, for receiving the first BS-packet       25   step of determining including the step of determining that
     signal;                                                           the second base station has available capacity, in order to
                                                                       hand off communications to the second base station.
  a second base station, located in, and part of the FDD                 24. An improvement to a distributed network comprising:
     distributed network, for transmitting, using radio                  a frequency division duplex (FDD), distributed network;
     waves, a second BS-packet signal;                            30     first base-station (BS) means, located in, and part of the
  said remote station for monitoring a signal metric of the                 FDD distributed network, for transmitting, using radio
     first BS-packet signal and a signal metric of the second               waves, a first BS-packet signal;
     BS-packet signal, for determining that the signal metric
     of the first BS-packet signal falls below a threshold and           remote-station (RS) means, located in, and part of the
     that the signal metric of the second BS-packet signal is               FDD distributed network, for receiving the first BS
     above the threshold, and in response to determining          35        packet signal;
     that the signal metric of the first BS-packet signal falls          second base-station means, located in, and part of the
     below the threshold and that the signal metric of the                  FDD distributed network, for transmitting, using radio
     second BS-packet signal is above the threshold, hand                   waves, a second BS-packet signal;
     ing off communications to the second base station, by               said remote-station means for monitoring a signal metric
     transmitting, using radio waves, an RS-packet signal;        40        of the first BS-packet signal and a signal metric of the
  said second base station for receiving the RS-packet                      second BS-packet signal, for determining that the sig
     signal, and for sending the RS-packet signal to a                      nal metric of the first BS-packet signal falls below a
     destination node (DN), with the RS-packet signal                       threshold and that the signal metric of the second
     including a source address from the second base sta                    BS-packet signal is above the threshold, and in
    tion;
                                                                  45        response to determining that the signal metric of the
  said destination node for sending a DN-packet signal                      first BS-packet signal falls below the threshold and that
                                                                            the signal metric of the second BS-packet signal is
    including a destination address for the second base                     above the threshold, handing off communications to the
     station; and                                                           second base station, by transmitting, using radio waves,
  said second base station for receiving the DN-packet            50        an RS-packet signal;
     signal, and for transmitting, using radio waves, the                said second base-station means for receiving the RS
     DN-packet signal to said remote station.                               packet signal, and for sending the RS-packet signal to
  21. The improvement as set forth in claim 20, with said                   destination-node (DN) means, with the RS-packet sig
remote station including means for determining that the                     nal including a source address from the second base
second base station has available capacity, in order to hand      55        station;
off communications to the second base station.                           said destination-node means for sending a DN-packet
  22. An improvement for a frequency division duplex                        signal including a destination address for the second
(FDD) distributed network method comprising the steps of:                   base station; and
  transmitting, using radio waves, from a first base station             said second base-station means for receiving the DN
     (BS) located in, and part of the FDD distributed             60        packet signal, and for transmitting, using radio waves,
     network, a first BS-packet signal;                                     the DN-packet signal to said remote station.
  receiving at a remote station (RS), located in, and part of            25. The improvement as set forth in claim 24, with said
     the FDD distributed network, the first BS-packet sig              remote-station means including means for determining that
     nal;                                                              the second base-station means has available capacity in
  transmitting, using radio waves, from a second base             65   order to hand off communications to the second base station.
     station, located in, and part of the FDD distributed
     network, a second BS-packet signal;
